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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION
In re: Jorge Luis Guerrero, Jr.                   xxx-xx-1453             §          Case No:     19-41978-ELM-13
       10544 Rising Knoll Lane                                            §
                                                                                     Date:        6/12/2019
       Fort Worth, TX 76131                                               §
                                                                          §          Chapter 13
                                                                          §
      Blanca Estelle Quinonez                     xxx-xx-5997
      10544 Rising Knoll Lane
      Fort Worth, TX 76131



                                  Debtor(s)




                                                  DEBTOR'S(S') CHAPTER 13 PLAN
                                              (CONTAINING A MOTION FOR VALUATION)

                                                            DISCLOSURES
    This Plan does not contain any Nonstandard Provisions.
    This Plan contains Nonstandard Provisions listed in Section III.
    This Plan does not limit the amount of a secured claim based on a valuation of the Collateral for the claim.
    This Plan does limit the amount of a secured claim based on a valuation of the Collateral for the claim.
This Plan does not avoid a security interest or lien.
Language in italicized type in this Plan shall be as defined in the "General Order 2017-01, Standing Order Concerning Chapter 13
Cases" and as it may be superseded or amended ("General Order"). All provisions of the General Order shall apply to this Plan
as if fully set out herein.




                                                                 Page 1
Plan Payment:    $4,400.00                      Value of Non-exempt property per § 1325(a)(4):         $0.00
Plan Term:     60 months                        Monthly Disposable Income per § 1325(b)(2):         $0.00
Plan Base:    $264,000.00                       Monthly Disposable Income x ACP ("UCP"):          $0.00
Applicable Commitment Period: 36 months
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                                                        MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby move(s) the Court to value the
Collateral described in Section I, Part E.(1) and Part F of the Plan at the lesser of the value set forth therein or any value claimed on
the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's pre-hearing
conference regarding Confirmation or shall be deemed waived.


                                                        SECTION I
                                    DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                   FORM REVISED 7/1/17
A.   PLAN PAYMENTS:
          Debtor(s) propose(s) to pay to the Trustee the sum of:
             $4,400.00     per month, months    1        to   60    .

          For a total of    $264,000.00     (estimated " Base Amount ").
          First payment is due      6/14/2019       .
          The applicable commitment period ("ACP") is         36    months.
          Monthly Disposable Income ("DI") calculated by Debtor(s) per § 1325(b)(2) is:          $0.00          .
          The Unsecured Creditors' Pool ("UCP"), which is DI x ACP, as estimated by the Debtor(s), shall be no less than:
               $0.00      .
          Debtor's(s') equity in non-exempt property, as estimated by Debtor(s) per § 1325(a)(4), shall be no less than:
               $0.00          .

B. STATUTORY, ADMINISTRATIVE AND DSO CLAIMS:
     1.   CLERK'S FILING FEE: Total filing fees paid through the Plan, if any, are             $0.00          and shall be paid in full
          prior to disbursements to any other creditor.
     2.   STATUTORY TRUSTEE'S PERCENTAGE FEE(S) AND NOTICING FEES: Trustee's Percentage Fee(s) and any
          noticing fees shall be paid first out of each receipt as provided in General Order 2017-01 (as it may be superseded or
          amended) and 28 U.S.C. § 586(e)(1) and (2).

     3.   DOMESTIC SUPPORT OBLIGATIONS: The Debtor is responsible for paying any Post-petition Domestic Support
          Obligation directly to the DSO claimant. Pre-petition Domestic Support Obligations per Schedule "E/F" shall be paid in
          the following monthly payments:


                      DSO CLAIMANTS                            SCHED. AMOUNT           %         TERM (APPROXIMATE)             TREATMENT
                                                                                                  (MONTHS __ TO __)             $__ PER MO.

C. ATTORNEY FEES: To          MP Wright Law Group, PLLC           , total:                  $3,700.00     ;
      $512.00   Pre-petition;   $3,188.00     disbursed by the Trustee.

D.(1) PRE-PETITION MORTGAGE ARREARAGE:

                 MORTGAGEE                           SCHED.              DATE              %      TERM (APPROXIMATE)             TREATMENT
                                                    ARR. AMT        ARR. THROUGH                   (MONTHS __ TO __)
Loancare Servicing Ctr                                  $7,118.12       5/1/2019         0.00%         Month(s) 4-58                      Pro-Rata
10544 Rising Knoll Lane




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D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY THE TRUSTEE IN A CONDUIT CASE:

                       MORTGAGEE                                  # OF PAYMENTS            CURRENT POST-              FIRST CONDUIT
                                                                 PAID BY TRUSTEE         PETITION MORTGAGE          PAYMENT DUE DATE
                                                                                          PAYMENT AMOUNT                (MM-DD-YY)
Loancare Servicing Ctr                                                 58 month(s)                    $2,408.00                  8/1/2019
10544 Rising Knoll Lane

D.(3) POST-PETITION MORTGAGE ARREARAGE:

                MORTGAGEE                          TOTAL           DUE DATE(S)           %       TERM (APPROXIMATE)          TREATMENT
                                                    AMT.           (MM-DD-YY)                     (MONTHS __ TO __)
Loancare Servicing Ctr                               $4,816.90       6/1/2019;          0.00%        Month(s) 4-58                    Pro-Rata
10544 Rising Knoll Lane                                               7/1/2019

E.(1) SECURED CREDITORS - PAID BY THE TRUSTEE:

A.
                 CREDITOR /                     SCHED. AMT.           VALUE             %        TERM (APPROXIMATE)          TREATMENT
                COLLATERAL                                                                        (MONTHS __ TO __)            Per Mo.

B.
                 CREDITOR /                     SCHED. AMT.           VALUE             %                                    TREATMENT
                COLLATERAL                                                                                                     Pro-rata
Conns                                                $2,742.00            $500.00      0.00%                                          Pro-Rata
Household Goods

To the extent the value amount in E.(1) is less than the scheduled amount in E.(1), the creditor may object. In the event a creditor
objects to the treatment proposed in paragraph E.(1), the Debtor(s) retain(s) the right to surrender the Collateral to the creditor in
satisfaction of the creditor's claim.

E.(2) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE - NO CRAM DOWN:

A.
                          CREDITOR /                              SCHED. AMT.           %        TERM (APPROXIMATE)          TREATMENT
                         COLLATERAL                                                               (MONTHS __ TO __)            Per Mo.

Mbrs Choice Of C Tx Fc                                                $11,062.65       6.50%         Month(s) 1-3                      $135.00
2015 Chevrolet Malibu                                                                  6.50%         Month(s) 4-58                     $230.91
Santander Consumer USA                                                $37,557.00       6.50%         Month(s) 1-3                      $340.94
2017 Chevrolet Silverado                                                               6.50%         Month(s) 4-58                     $791.47
Synchrony/Kawasaki                                                    $14,652.00       6.50%         Month(s) 1-3                      $157.44
2017 Kawasaki ZX10 (approx. 15,000 miles)                                              6.50%         Month(s) 4-58                     $307.20

B.
                          CREDITOR /                              SCHED. AMT.           %                                    TREATMENT
                         COLLATERAL                                                                                            Pro-rata

The valuation of Collateral set out in E.(1) and the interest rate to be paid on the above scheduled claims in E.(1) and E.(2) will
be finally determined at confirmation. The allowed claim amount will be determined based on a timely filed proof of claim and
the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection to claim.

Absent any objection to the treatment described in E.(1) or E.(2), the creditor(s) listed in E.(1) and E.(2) shall be deemed to have
accepted the Plan per section 1325(a)(5)(A) of the Bankruptcy Code and to have waived its or their rights under section
1325(a)(5)(B) and (C) of the Bankruptcy Code.




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             Blanca Estelle Quinonez

F.   SECURED CREDITORS - COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                SCHED. AMT.             VALUE                TREATMENT
                           COLLATERAL

Upon confirmation, pursuant to 11 U.S.C. § 1322(b)(8), the surrender of the Collateral described herein will provide for the
payment of all or part of a claim against the Debtor(s) in the amount of the value given herein.

The valuation of Collateral in F will be finally determined at confirmation. The allowed claim amount will be determined based
on a timely filed proof of claim and the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection
to claim.

The Debtor(s) request(s) that the automatic stay be terminated as to the surrendered Collateral. If there is no objection to the
surrender, the automatic stay shall terminate and the Trustee shall cease disbursements on any secured claim which is
secured by the Surrendered Collateral, without further order of the Court, on the 7th day after the date the Plan is filed. However,
the stay shall not be terminated if the Trustee or affected secured lender files an objection in compliance with paragraph 8 of the
General Order until such objection is resolved.

Nothing in this Plan shall be deemed to abrogate any applicable non-bankruptcy statutory or contractual rights of the Debtor(s).

G. SECURED CREDITORS - PAID DIRECT BY DEBTOR:

                        CREDITOR                                                    COLLATERAL                             SCHED. AMT.

Snap On Crdt                                                 tools                                                                 $733.00

H. PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                                CREDITOR                                       SCHED. AMT.     TERM (APPROXIMATE)          TREATMENT
                                                                                                (MONTHS __ TO __)
Internal Revenue Service                                                          $4,000.00      Month(s) 4-58                     Pro-Rata

I.   SPECIAL CLASS:

                                CREDITOR                                       SCHED. AMT.     TERM (APPROXIMATE)          TREATMENT
                                                                                                (MONTHS __ TO __)

JUSTIFICATION:



J.   UNSECURED CREDITORS:

                        CREDITOR                             SCHED. AMT.                              COMMENT
AR Resources, Inc.                                                   $615.00
Capital Bank                                                         $107.00
Capital One                                                            $0.00
Comenity Bank/Express                                                $469.00
Comenity Bank/Victoria Secret                                        $943.00
Comenity/MPRC                                                        $741.00
Conns                                                             $2,242.00 Unsecured portion of the secured debt (Bifurcated)
Credit Collection Services                                           $138.00
Credit Systems International, Inc                                    $199.00
Diversified Consultants, Inc.                                     $3,738.00
Diversified Consultants, Inc.                                     $1,218.00
ERC/Enhanced Recovery Corp                                           $340.00
Fingerhut                                                         $1,337.00
Fingerhut                                                         $1,285.00


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Fingerhut                                                                 $0.00
Fingerhut                                                                 $0.00
Fingerhut                                                                 $0.00
First Premier Bank                                                     $725.00
Genesis Bc/Celtic Bank                                                 $222.00
Intuit Financing, Inc, (IFI)                                              $0.00
Merrick Bank/CardWorks                                                 $632.00
Portfolio Recovery                                                     $431.00
Snap On Crdt                                                              $0.00
Synchrony Bank                                                            $0.00
U.S. Department of Education                                         $4,795.00
U.S. Department of Education                                         $1,451.00
U.S. Department of Education                                         $1,267.00
U.S. Department of Education                                           $736.00
United Revenue Corp.                                                   $635.00
USDOE/GLELSI                                                              $0.00
Wells Fargo Bank NA                                                  $1,389.00
Wells Fargo Bank NA                                                    $137.00
West Lake Financial Services                                              $0.00

TOTAL SCHEDULED UNSECURED:                                         $25,792.00
The Debtor's(s') estimated (but not guaranteed) payout to unsecured creditors based on the scheduled amount is ____________.
                                                                                                                    16%

General unsecured claims will not receive any payment until after the order approving the TRCC becomes final.
K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                    § 365 PARTY                        ASSUME/REJECT          CURE AMOUNT         TERM (APPROXIMATE)            TREATMENT
                                                                                                   (MONTHS __ TO __)
Regus                                                 Rejected                            $0.00

                                                        SECTION II
                                    DEBTOR'S(S') CHAPTER 13 PLAN - GENERAL PROVISIONS
                                                    FORM REVISED 7/1/17
A.   SUBMISSION OF DISPOSABLE INCOME:

Debtor(s) hereby submit(s) future earnings or other future income to the Trustee to pay the Base Amount.

B. ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY PERCENTAGE FEE(S) AND
   NOTICING FEES:

The Statutory Percentage Fees of the Trustee shall be paid in full pursuant to 11 U.S.C. §§ 105(a), 1326(b)(2), and 28 U.S.C.
§ 586(e)(1)(B). The Trustee is authorized to charge and collect Noticing Fees as indicated in Section I, Part "B" hereof.

C. ATTORNEY FEES:

Debtor's(s') Attorney Fees totaling the amount indicated in Section I, Part C, shall be disbursed by the Trustee in the amount
shown as "Disbursed By The Trustee" pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection
Disbursements ("AAPD "), if filed.

D.(1) PRE-PETITION MORTGAGE ARREARAGE:
The Pre-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed pre-petition arrearage amount and at the rate of
interest indicated in Section I, Part D.(1). To the extent interest is provided, it will be calculated from the date of the Petition. The
principal balance owing upon confirmation of the Plan on the allowed pre-petition Mortgage Arrearage amount shall be reduced
by the total adequate protection less any interest (if applicable) paid to the creditor by the Trustee. Such creditors shall retain
their liens.


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D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY TRUSTEE IN A CONDUIT CASE:
Current Post-Petition Mortgage Payment(s) shall be paid by the Trustee as indicated in Section I, Part D.(2), or as otherwise
provided in the General Order.

The Current Post-Petition Mortgage Payment(s) indicated in Section I, Part D.(2) reflects what the Debtor(s) believe(s) is/are the
periodic payment amounts owed to the Mortgage Lender as of the date of the filing of this Plan. Adjustment of the Plan Payment
and Base Amount shall be calculated as set out in the General Order, paragraph 15(c)(3).

Payments received by the Trustee for payment of the Debtor's Current Post-Petition Mortgage Payment(s) shall be deemed
adequate protection to the creditor.

Upon completion of the Plan, Debtor(s) shall resume making the Current Post-Petition Mortgage Payments required by their
contract on the due date following the date specified in the Trustee's records as the date through which the Trustee made the
last Current Post-Petition Mortgage Payment.

Unless otherwise ordered by the Court, and subject to Bankruptcy Rule 3002.1(f)-(h), if a Conduit Debtor is current on his/her
Plan Payments or the payment(s) due pursuant to any wage directive, the Mortgage Lender shall be deemed current post-petition.

D.(3) POST-PETITION MORTGAGE ARREARAGE:
The Post-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed amount and at the rate of interest indicated in
Section I, Part D.(3). To the extent interest is provided, it will be calculated from the date of the Petition.

Mortgage Lenders shall retain their liens.

E.(1)    SECURED CLAIMS TO BE PAID BY TRUSTEE:
The claims listed in Section I, Part E.(1) shall be paid by the Trustee as secured to the extent of the lesser of the allowed claim
amount (per a timely filed Proof of Claim not objected to by a party in interest) or the value of the Collateral as stated in the Plan.
Any amount claimed in excess of the value shall automatically be split and treated as unsecured as indicated in Section I, Part H
or J, per 11 U.S.C. § 506(a). Such creditors shall retain their liens on the Collateral described in Section I, Part E.(1) as set out in
11 U.S.C. § 1325(a)(5)(B)(I) and shall receive interest at the rate indicated from the date of confirmation or, if the value shown is
greater than the allowed claim amount, from the date of the Petition, up to the amount by which the claim is over-secured. The
principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate
protection payments less any interest (if applicable) paid to the creditor by the Trustee.

E.(2)    SECURED 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN:
Claims in Section I, Part E.(2) are either debts incurred within 910 days of the Petition Date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Debtor(s) or debts incurred within one year of the
Petition Date secured by any other thing of value.

The claims listed in Section I, Part E.(2) shall be paid by the Trustee as fully secured to the extent of the allowed amount (per a
timely filed Proof of Claim not objected to by a party in interest). Such creditors shall retain their liens on the Collateral described
in Section I, Part E.(2) until the earlier of the payment of the underlying debt determined under non-bankruptcy law or a discharge
under § 1328 and shall receive interest at the rate indicated from the date of confirmation. The principal balance owing upon
confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate protection payments paid to the
creditor by the Trustee.

To the extent a secured claim not provided for in Section I, Part D, E.(1) or E.(2) is allowed by the Court, Debtor(s) will pay the
claim direct per the contract or statute.

Each secured claim shall constitute a separate class.

F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL:

The claims listed in Section I, Part F shall be satisfied as secured to the extent of the value of the Collateral , as stated in the
Plan , by surrender of the Collateral by the Debtor(s) on or before confirmation. Any amount claimed in excess of the value of the
Collateral , to the extent it is allowed, shall be automatically split and treated as indicated in Section I, Part H or J, per
11 U.S.C. § 506(a).

Each secured claim shall constitute a separate class.




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G. DIRECT PAYMENTS BY DEBTOR(S):
Payments on all secured claims listed in Section I, Part G shall be disbursed by the Debtor(s) to the claimant in accordance with
the terms of their agreement or any applicable statute, unless otherwise provided in Section III, "Nonstandard Provisions."

No direct payment to the IRS from future income or earnings in accordance with 11 U.S.C. § 1322(a)(1) will be permitted.

Each secured claim shall constitute a separate class.

H. PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:
Failure to object to confirmation of this Plan shall not be deemed acceptance of the "SCHED. AMT." shown in Section I, Part H.
The claims listed in Section I, Part H shall be paid their allowed amount by the Trustee, in full, pro-rata, as priority claims, without
interest.

I.   CLASSIFIED UNSECURED CLAIMS:
Classified unsecured claims shall be treated as allowed by the Court.

J.   GENERAL UNSECURED CLAIMS TIMELY FILED:
All other allowed claims not otherwise provided for herein shall be designated general unsecured claims.
K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:
As provided in § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assume(s) or reject(s) the executory contracts or unexpired
leases with parties as indicated in Section I, Part K.

Assumed lease and executory contract arrearage amounts shall be disbursed by the Trustee as indicated in Section I, Part K.
L.   CLAIMS TO BE PAID:
"TERM (APPROXIMATE)" as used in this Plan states the estimated number of months from the Petition Date required to fully pay
the allowed claim. If adequate protection payments have been authorized and made, they will be applied to principal as to both
under-secured and fully secured claims and allocated between interest and principal as to over-secured claims. Payment
pursuant to this Plan will only be made on statutory, secured, administrative, priority and unsecured claims that are allowed or,
pre-confirmation, that the Debtor(s) has/have authorized in a filed Authorization for Adequate Protection Disbursements.

M. ADDITIONAL PLAN PROVISIONS:
Any additional Plan provisions shall be set out in Section III, "Nonstandard Provisions."
N. POST-PETITION NON-ESCROWED AD VALOREM (PROPERTY) TAXES AND INSURANCE:
Whether the Debtor is a Conduit Debtor or not, if the regular payment made by the Debtor to a Mortgage Lender or any other
lienholder secured by real property does not include an escrow for the payment of ad valorem (property) taxes or insurance, the
Debtor is responsible for the timely payment of post-petition taxes directly to the tax assessor and is responsible for maintaining
property insurance as required by the mortgage security agreement, paying all premiums as they become due directly to the
insurer. If the Debtor fails to make these payments, the mortgage holder may, but is not required to, pay the taxes and/or the
insurance. If the mortgage holder pays the taxes and/or insurance, the mortgage holder may file, as appropriate, a motion for
reimbursement of the amount paid as an administrative claim or a Notice of Payment Change by Mortgage Lender or a Notice of
Fees, Expenses, and Charges.

O. CLAIMS NOT FILED:

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.

P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR
     PUNITIVE DAMAGES:

Any unsecured claim for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly
including an IRS penalty to the date of the petition on unsecured and/or priority claims, shall be paid only a pro-rata share of any
funds remaining after all other unsecured claims, including late filed claims, have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST:

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.



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R. BUSINESS CASE OPERATING REPORTS:
Upon the filing of the Trustee's 11 U.S.C. § 1302(c) Business Case Report, business Debtors are no longer required to file
operating reports with the Trustee, unless the Trustee requests otherwise. The filing of the Trustee's 11 U.S.C. § 1302(c)
Business Case Report shall terminate the Trustee's duties but not the Trustee's right to investigate or monitor the Debtor's(s')
business affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST-CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRE-CONFIRMATION OPERATIONS:

The Trustee shall not be liable for any claim arising from the post-confirmation operation of the Debtor's(s') business. Any
claims against the Trustee arising from the pre-confirmation operation of the Debtor's(s') business must be filed with the
Bankruptcy Court within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY; RE-VESTING OF PROPERTY; NON-LIABILITY OF TRUSTEE FOR
     PROPERTY IN POSSESSION OF DEBTOR WHERE DEBTOR HAS EXCLUSIVE RIGHT TO USE, SELL, OR LEASE IT; AND
     TRUSTEE PAYMENTS UPON POST CONFIRMATION CONVERSION OR DISMISSAL:

Debtor(s) shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior
to discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

Property of the estate shall not vest in the Debtor until such time as a discharge is granted or the Case is dismissed or closed
without discharge. Vesting shall be subject to all liens and encumbrances in existence when the Case was filed and all valid
post-petition liens, except those liens avoided by court order or extinguished by operation of law. In the event the Case is
converted to a case under chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate shall vest in accordance with
applicable law. After confirmation of the Plan, the Trustee shall have no further authority, fiduciary duty or liability regarding the
use, sale, insurance of or refinance of property of the estate except to respond to any motion for the proposed use, sale, or
refinance of such property as required by the applicable laws and/or rules. Prior to any discharge or dismissal, the Debtor(s)
must seek approval of the court to purchase, sell, or refinance real property.

Upon dismissal of the Case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan. Upon
conversion of the Case, any balance on hand will be disbursed by the Trustee in accordance with applicable law.

U. ORDER OF PAYMENT:
Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee after the entry of an
order confirming the Chapter 13 Plan, whether pursuant to this Plan or a modification thereof, will be paid in the order set out
below, to the extent a creditor's claim is allowed or the disbursement is otherwise authorized. Each numbered paragraph below
is a level of payment. All disbursements which are in a specified monthly amount are referred to as "per mo." At the time of any
disbursement, if there are insufficient funds on hand to pay any per mo payment in full, claimant(s) with a higher level of payment
shall be paid any unpaid balance owed on a per mo payment plus the current per mo payment owed to that same claimant, in
full, before any disbursement to a claimant with a lower level of payment. If multiple claimants are scheduled to receive per mo
payments within the same level of payment and there are insufficient funds to make those payments in full, available funds will
be disbursed to the claimants within that level on a pro-rata basis. Claimants with a higher level of payment which are
designated as receiving pro-rata payments shall be paid, in full, before any disbursements are made to any claimant with a
lower level of payment.

1st -- Clerk's Filing Fee and Trustee's Percentage Fee(s) and Noticing Fees in B.(1) and B.(2) and per statutory provisions will
be paid in full.

2nd -- Current Post-Petition Mortgage Payments (Conduit) in D.(2) and as adjusted according to the General Order, which must
be designated to be paid per mo.

3rd -- Creditors listed in E.(1)(A) and E.(2)(A), which must be designated to be paid per mo, and Domestic Support Obligations
("DSO") in B.(3), which must be designated to be paid per mo.

4th -- Attorney Fees in C, which must be designated to be paid pro-rata.

5th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid per mo.

6th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid pro-rata.

7th -- Arrearages owed on Executory Contracts and Unexpired Leases in K, which must be designated to be paid per mo.




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             Blanca Estelle Quinonez

8th -- Any Creditors listed in D.(1), if designated to be paid per mo.

9th -- Any Creditors listed in D.(1), if designated to be paid pro-rata and/or Creditors listed in E.(1)(B) or E.(2)(B), which must be
designated to be paid pro-rata.

10th -- All amounts allowed pursuant to a Notice of Fees, Expenses and Charges, which will be paid pro-rata.
11th -- Priority Creditors Other than Domestic Support Obligations ("Priority Creditors") in H, which must be designated to be
paid pro-rata.

12th -- Special Class in I, which must be designated to be paid per mo.

13th -- Unsecured Creditors in J, other than late filed or penalty claims, which must be designated to be paid pro-rata.

14th -- Late filed claims by Secured Creditors in D.(1), D.(2), D.(3), E.(1) and E.(2), which must be designated to be paid pro-rata,
unless other treatment is authorized by the Court.

15th -- Late filed claims for DSO or filed by Priority Creditors in B.(3) and H, which must be designated to be paid pro-rata.

16th -- Late filed claims by Unsecured Creditors in J, which must be designated to be paid pro-rata.

17th -- Unsecured claims for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages,
expressly including an IRS penalty to the date of the petition on unsecured and/or priority claims. These claims must be
designated to be paid pro-rata.


V.   POST-PETITION CLAIMS:
Claims filed under § 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor(s) will modify this Plan.

W. TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE:
See the provisions of the General Order regarding this procedure.




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             Blanca Estelle Quinonez

                                                         SECTION III
                                                   NONSTANDARD PROVISIONS

The following nonstandard provisions, if any, constitute terms of this Plan. Any nonstandard provision placed elsewhere in the
Plan is void.
None.
I, the undersigned, hereby certify that the Plan contains no nonstandard provisions other than those set out in this final paragraph.

/s/ M. Paul Wright
M. Paul Wright, Debtor's(s') Attorney                                     Debtor (if unrepresented by an attorney)


Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) is respectfully submitted.

/s/ M. Paul Wright                                                        IL 6298791
M. Paul Wright, Debtor's(s') Counsel                                      State Bar Number




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Debtor(s):   Jorge Luis Guerrero, Jr.
             Blanca Estelle Quinonez



                                                    CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that the foregoing Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) was served on
the following entities either by Electronic Service or by First Class Mail, Postage Pre-paid on the    14th day of June, 2019        :

(List each party served, specifying the name and address of each party)


Dated:              June 12, 2019                                         /s/ M. Paul Wright
                                                                          M. Paul Wright, Debtor's(s') Counsel

Advance Merchant Services LLC                       Comenity Bank/Victoria Secret                       Diversified Consultants, Inc.
116 Nassau Street                                   xxxxxxxx1148                                        xxxx3395
8th Floor                                           Attn: Bankruptcy                                    Attn: Bankruptcy
New York, NewYork, 10038                            PO Box 182125                                       PO Box 679543
                                                    Columbus, OH 43218                                  Dallas, TX 75267


AR Resources, Inc.                                  Comenity/MPRC                                       ERC/Enhanced Recovery Corp
xxx7745                                             xxxxxxxxxxxx6308                                    xxxxx8604
ATTN: Bankruptcy                                    Attn: Bankruptcy Dept                               Attn: Bankruptcy
PO Box 1056                                         PO Box 182125                                       8014 Bayberry Road
Blue Bell, PA 19422                                 Columbus, OH 43218                                  Jacksonville, FL 32256


Attorney General                                    Conns                                               Fingerhut
Collections Div Bankruptcy Sec                      xxxxxxxxxxxxxxxxxxx0817                             xxxxxxxxxxxx7215
P.O. Box 12548                                      Attn: Bankruptcy Department                         Attn: Bankruptcy
Austin, TX 78711-2548                               PO Box 815867                                       PO Box 1250
                                                    Dallas, TX 75234                                    Saint Cloud, MN 56395


Capital Bank                                        Credit Collection Services                          Fingerhut
xxxxxxxxxxxx6360                                    xxxx2396                                            xxxxxxxxxxxx9981
Attn: Bankruptcy                                    Attn: Bankruptcy                                    Attn: Bankruptcy
1 Church St. # 300                                  725 Canton St                                       PO Box 1250
Rockville, MD 20850                                 Norwood, MA 02062                                   Saint Cloud, MN 56395


Capital One                                         Credit Systems International, Inc                   Fingerhut
xxxxxxxx6301                                        xxxxx4070                                           xxxxxxxxxxxx9045
Attn: Bankruptcy                                    Attn: Bankruptcy                                    Attn: Bankruptcy
PO Box 30285                                        PO Box 1088                                         6250 Ridgewood Rd
Salt Lake City, UT 84130                            Arlington, TX 76004                                 Saint Cloud, MN 56303


Comenity Bank/Express                               Diversified Consultants, Inc.                       Fingerhut
xxxxx0898                                           xxxx4450                                            xxxxxxxxxxxx3434
Attn: Bankruptcy                                    Attn: Bankruptcy                                    Attn: Bankruptcy
PO Box 182125                                       PO Box 679543                                       6250 Ridgewood Rd
Columbus, OH 43218                                  Dallas, TX 75267                                    Saint Cloud, MN 56303




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Debtor(s):   Jorge Luis Guerrero, Jr.
             Blanca Estelle Quinonez

Fingerhut                               Loancare Servicing Ctr                  Santander Consumer USA
xxxxxxxxxxxx8674                        xxxxxxxxx4337                           xxxxxxxxxxxxx1000
Attn: Bankruptcy                        3637 Sentara Way                        Attn: Bankruptcy
6250 Ridgewood Rd                       Virginia Beach, VA 23452                PO Box 961245
Saint Cloud, MN 56303                                                           Fort Worth, TX 76161


First Premier Bank                      Marvin Ben-Aron P.C.                    Snap On Crdt
xxxxxxxxxxxx1781                        2713 Coney Island Ave., Ste 3           xxxxx6274
Attn: Bankruptcy                        Brooklyn, NY 11235                      950 Technology Way
PO Box 5524                                                                     Suite 301
Sioux Falls, SD 57117                                                           Libertyville, IL 60048


Genesis Bc/Celtic Bank                  Mbrs Choice Of C Tx Fc                  Synchrony Bank
xxxxxxxxxxxx8746                        xxxxxx0001                              Attn: Bankruptcy Dept
Attn: Bankruptcy                        4631 W Waco Dr                          PO BOX 965060
PO Box 4477                             Waco, TX 76710                          Orlando, FL 32896-5060
Beaverton, OR 97076


Internal Revenue Service                Merrick Bank/CardWorks                  Synchrony/Kawasaki
Department of the Treasury              xxxxxxxxxxxx4947                        xxxxxxxx0065
P.O. Box 7346                           Attn: Bankruptcy                        Attn: Bankruptcy
Philadelphia, PA 19101-7346             PO Box 9201                             PO Box 965060
                                        Old Bethpage, NY 11804                  Orlando, FL 32896


Internal Revenue Service                Portfolio Recovery                      The Rubin Law Firm, PLLC
Special Procedures-Insolvency           xxxxxxxxxxxx9579                        90 Broad Street, 16th Floor
P.O. Box 7346                           Attn: Bankruptcy                        New York, NY 10004
Philadelphia, PA 19101-7346             PO Box 41021
                                        Norfolk, VA 23541


Intuit Financing, Inc, (IFI)            Premier Capital Fundingm LLC            TVT 2.0 LLC
2700 Coast Ave,                         x2815                                   881 Baxter Dr.
Moutain View, CA 94043                  9265 4th Avenue, 2nd Floor              Suite 100
                                        Brooklyn, NY 11209                      South Jordan, UT, 84095



Jorge Luis Guerrero, Jr.                Premier Capital Fundingm LLC            U.S. Department of Education
10544 Rising Knoll Lane                 x6467                                   xxxx6621
Fort Worth, TX 76131                    9265 4th Avenue, 2nd Floor              ECMC/Bankruptcy
                                        Brooklyn, NY 11209                      PO Box 16408
                                                                                Saint Paul, MN 55116


Linebarger Goggan Blair & Sampson,      Regus                                   U.S. Department of Education
LLP                                     Need Information                        xxxx0991
2323 Bryan Street, Suite 1600                                                   ECMC/Bankruptcy
Dallas, Texas 75201                                                             PO Box 16408
                                                                                Saint Paul, MN 55116




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Debtor(s):   Jorge Luis Guerrero, Jr.
             Blanca Estelle Quinonez

U.S. Department of Education            West Lake Financial Services
xxxx0999                                xxx9490
ECMC/Bankruptcy                         ATTN: Bankruptcy
PO Box 16408                            4751 Wilshire Blvd., Ste 100
Saint Paul, MN 55116                    Los Angeles, CA 90010


U.S. Department of Education
xxxx0993
ECMC/Bankruptcy
PO Box 16408
Saint Paul, MN 55116


United Revenue Corp.
xxx4218
204 Billings Street
Suite 120
Arlington, TX 76010


United States Trustee
1100 Commerce Street
Rm. 976
Dallas, Texas 75242-1496



USDOE/GLELSI
xxxxxxxxxxxx8581
Attn: Bankruptcy
PO Box 7860
Madison, WI 53707


Vadim Serebro, Esq.
55 Broadway
3rd Floor
New York, New York 10006



Wells Fargo Bank NA
xxxxxx1068
Attn: Bankruptcy
1 Home Campus MAC X2303-01A
Des Moines, IA 50328


Wells Fargo Bank NA
xxxxxxxxxxxx5457
Attn: Bankruptcy
1 Home Campus MAC X2303-01A
Des Moines, IA 50328




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MP Wright Law Group, PLLC
2501 Main St. Suite 100
Dallas, TX 75226



Bar Number: IL 6298791
Phone: (214) 420-6465
                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF TEXAS
                                                      FORT WORTH DIVISION
                                                             Revised 10/1/2016

IN RE: Jorge Luis Guerrero, Jr.                    xxx-xx-1453      §      CASE NO: 19-41978-ELM-13
       10544 Rising Knoll Lane                                      §
       Fort Worth, TX 76131                                         §
                                                                    §
                                                                    §

        Blanca Estelle Quinonez                    xxx-xx-5997
        10544 Rising Knoll Lane
        Fort Worth, TX 76131




                                  Debtor(s)


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                        6/12/2019
                                                                                                    DATED:________________
The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed as
indicated below:

 Periodic Payment Amount                                                                                                              $4,400.00
 Disbursements                                                                                    First (1)                  Second (2) (Other)
 Account Balance Reserve                                                                            $5.00               $5.00 carried forward
 Trustee Percentage Fee                                                                           $439.50                              $440.00
 Filing Fee                                                                                         $0.00                                $0.00
 Noticing Fee                                                                                      $51.45                                $0.00
 Subtotal Expenses/Fees                                                                           $495.95                              $440.00
 Available for payment of Adequate Protection, Attorney Fees and
 Current Post-Petition Mortgage Payments:                                                       $3,904.05                            $3,960.00


CREDITORS SECURED BY VEHICLES (CAR CREDITORS):
                                                                                                                Adequate              Adequate
                                                                           Scheduled            Value of        Protection           Protection
 Name                                 Collateral                             Amount            Collateral      Percentage       Payment Amount
 Mbrs Choice Of C Tx Fc               2015 Chevrolet Malibu                $11,062.65         $10,800.00           1.25%                $135.00
 Santander Consumer USA               2017 Chevrolet Silverado             $37,557.00         $27,275.00           1.25%                $340.94

                                    Total Adequate Protection Payments for Creditors Secured by Vehicles:                              $475.94

CURRENT POST-PETITION MORTGAGE PAYMENTS (CONDUIT):

                                                                                              Scheduled          Value of
 Name                                 Collateral                            Start Date          Amount          Collateral      Payment Amount
 Loancare Servicing Ctr               10544 Rising Knoll Lane               8/1/2019         $258,015.00      $275,000.00              $2,408.00

                                          Payments for Current Post-Petition Mortgage Payments (Conduit):                             $2,408.00




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Debtor(s):   Jorge Luis Guerrero, Jr.
             Blanca Estelle Quinonez

 CREDITORS SECURED BY COLLATERAL OTHER THAN A VEHICLE:
                                                                                                             Adequate           Adequate
                                                                            Scheduled           Value of     Protection        Protection
   Name                                 Collateral                            Amount           Collateral   Percentage    Payment Amount
   Conns                                Household Goods                     $2,742.00            $500.00        1.25%               $6.25
   Synchrony/Kawasaki                   2017 Kawasaki ZX10 (approx. 15,000 miles)
                                                                           $14,652.00         $12,595.00        1.25%             $157.44

                Total Adequate Protection Payments for Creditors Secured by Collateral other than a vehicle:                     $163.69

                                                 TOTAL PRE-CONFIRMATION PAYMENTS

 First Month Disbursement (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13 Trustee
 Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                          $0.00
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                            $475.94
      Debtor's Attorney, per mo:                                                                                               $3,188.00
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                 $163.69

 Disbursements starting month 2 (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13
 Trustee Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                      $2,408.00
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                            $475.94
      Debtor's Attorney, per mo:                                                                                                   $0.00
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                 $163.69



 Order of Payment:
 Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee prior to entry of an
 order confirming the Chapter 13 Plan will be paid in the order set out above. All disbursements which are in a specified monthly
 amount are referred to as "per mo". At the time of any disbursement, if there are insufficient funds on hand to pay any per mo
 payment in full, claimant(s) with a higher level of payment shall be paid any unpaid balance owed on the per mo payment plus
 the current per mo payment owed to that same claimant, in full, before any disbursement to a claimant with a lower level of
 payment. Other than the Current Post-Petition Mortgage Payments, the principal balance owing upon confirmation of the Plan on
 the allowed secured claim shall be reduced by the total of adequate protection payments, less any interest (if applicable), paid to
 the creditor by the Trustee.




 DATED:________________________
         6/12/2019

 /s/ M. Paul Wright
 Attorney for Debtor(s)




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                                        UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION

  IN RE: Jorge Luis Guerrero, Jr.                                                  CASE NO.   19-41978-ELM-13
                                      Debtor


          Blanca Estelle Quinonez                                                  CHAPTER    13
                                    Joint Debtor

                                                   CERTIFICATE OF SERVICE


   I, the undersigned, hereby certify that on June 14, 2019, a copy of the attached Chapter 13 Plan, with any attachments,
was served on each party in interest listed below, by placing each copy in an envelope properly addressed, postage fully
prepaid in compliance with Local Rule 9013 (g).




                                 /s/ M. Paul Wright
                                 M. Paul Wright
                                 Bar ID:IL 6298791
                                 MP Wright Law Group, PLLC
                                 2501 Main St. Suite 100
                                 Dallas, TX 75226
                                 (214) 420-6465



Advance Merchant Services LLC                      Capital One                                 Conns
116 Nassau Street                                  xxxxxxxx6301                                xxxxxxxxxxxxxxxxxxx0817
8th Floor                                          Attn: Bankruptcy                            Attn: Bankruptcy Department
New York, NewYork, 10038                           PO Box 30285                                PO Box 815867
                                                   Salt Lake City, UT 84130                    Dallas, TX 75234


AR Resources, Inc.                                 Comenity Bank/Express                       Credit Collection Services
xxx7745                                            xxxxx0898                                   xxxx2396
ATTN: Bankruptcy                                   Attn: Bankruptcy                            Attn: Bankruptcy
PO Box 1056                                        PO Box 182125                               725 Canton St
Blue Bell, PA 19422                                Columbus, OH 43218                          Norwood, MA 02062


Attorney General                                   Comenity Bank/Victoria Secret               Credit Systems International, Inc
Collections Div Bankruptcy Sec                     xxxxxxxx1148                                xxxxx4070
P.O. Box 12548                                     Attn: Bankruptcy                            Attn: Bankruptcy
Austin, TX 78711-2548                              PO Box 182125                               PO Box 1088
                                                   Columbus, OH 43218                          Arlington, TX 76004


Capital Bank                                       Comenity/MPRC                               Diversified Consultants, Inc.
xxxxxxxxxxxx6360                                   xxxxxxxxxxxx6308                            xxxx4450
Attn: Bankruptcy                                   Attn: Bankruptcy Dept                       Attn: Bankruptcy
1 Church St. # 300                                 PO Box 182125                               PO Box 679543
Rockville, MD 20850                                Columbus, OH 43218                          Dallas, TX 75267
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                                        UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION

  IN RE: Jorge Luis Guerrero, Jr.                                                  CASE NO.   19-41978-ELM-13
                                      Debtor


          Blanca Estelle Quinonez                                                  CHAPTER    13
                                    Joint Debtor

                                                   CERTIFICATE OF SERVICE
                                                      (Continuation Sheet #1)

Diversified Consultants, Inc.                      First Premier Bank                          Loancare Servicing Ctr
xxxx3395                                           xxxxxxxxxxxx1781                            xxxxxxxxx4337
Attn: Bankruptcy                                   Attn: Bankruptcy                            3637 Sentara Way
PO Box 679543                                      PO Box 5524                                 Virginia Beach, VA 23452
Dallas, TX 75267                                   Sioux Falls, SD 57117


ERC/Enhanced Recovery Corp                         Genesis Bc/Celtic Bank                      Marvin Ben-Aron P.C.
xxxxx8604                                          xxxxxxxxxxxx8746                            2713 Coney Island Ave., Ste 3
Attn: Bankruptcy                                   Attn: Bankruptcy                            Brooklyn, NY 11235
8014 Bayberry Road                                 PO Box 4477
Jacksonville, FL 32256                             Beaverton, OR 97076


Fingerhut                                          Internal Revenue Service                    Mbrs Choice Of C Tx Fc
xxxxxxxxxxxx7215                                   Department of the Treasury                  xxxxxx0001
Attn: Bankruptcy                                   P.O. Box 7346                               4631 W Waco Dr
PO Box 1250                                        Philadelphia, PA 19101-7346                 Waco, TX 76710
Saint Cloud, MN 56395


Fingerhut                                          Internal Revenue Service                    Merrick Bank/CardWorks
xxxxxxxxxxxx9981                                   Special Procedures-Insolvency               xxxxxxxxxxxx4947
Attn: Bankruptcy                                   P.O. Box 7346                               Attn: Bankruptcy
PO Box 1250                                        Philadelphia, PA 19101-7346                 PO Box 9201
Saint Cloud, MN 56395                                                                          Old Bethpage, NY 11804


Fingerhut                                          Intuit Financing, Inc, (IFI)                Portfolio Recovery
xxxxxxxxxxxx9045                                   2700 Coast Ave,                             xxxxxxxxxxxx9579
Attn: Bankruptcy                                   Moutain View, CA 94043                      Attn: Bankruptcy
6250 Ridgewood Rd                                                                              PO Box 41021
Saint Cloud, MN 56303                                                                          Norfolk, VA 23541


Fingerhut                                          Jorge Luis Guerrero, Jr.                    Premier Capital Fundingm LLC
xxxxxxxxxxxx3434                                   10544 Rising Knoll Lane                     x2815
Attn: Bankruptcy                                   Fort Worth, TX 76131                        9265 4th Avenue, 2nd Floor
6250 Ridgewood Rd                                                                              Brooklyn, NY 11209
Saint Cloud, MN 56303


Fingerhut                                          Linebarger Goggan Blair & Sampson,          Premier Capital Fundingm LLC
xxxxxxxxxxxx8674                                   LLP                                         x6467
Attn: Bankruptcy                                   2323 Bryan Street, Suite 1600               9265 4th Avenue, 2nd Floor
6250 Ridgewood Rd                                  Dallas, Texas 75201                         Brooklyn, NY 11209
Saint Cloud, MN 56303
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                                        UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION

  IN RE: Jorge Luis Guerrero, Jr.                                                 CASE NO.   19-41978-ELM-13
                                      Debtor


          Blanca Estelle Quinonez                                                 CHAPTER    13
                                    Joint Debtor

                                                   CERTIFICATE OF SERVICE
                                                      (Continuation Sheet #2)

Santander Consumer USA                             U.S. Department of Education               Wells Fargo Bank NA
xxxxxxxxxxxxx1000                                  xxxx0991                                   xxxxxx1068
Attn: Bankruptcy                                   ECMC/Bankruptcy                            Attn: Bankruptcy
PO Box 961245                                      PO Box 16408                               1 Home Campus MAC X2303-01A
Fort Worth, TX 76161                               Saint Paul, MN 55116                       Des Moines, IA 50328


Snap On Crdt                                       U.S. Department of Education               Wells Fargo Bank NA
xxxxx6274                                          xxxx0999                                   xxxxxxxxxxxx5457
950 Technology Way                                 ECMC/Bankruptcy                            Attn: Bankruptcy
Suite 301                                          PO Box 16408                               1 Home Campus MAC X2303-01A
Libertyville, IL 60048                             Saint Paul, MN 55116                       Des Moines, IA 50328


Synchrony Bank                                     U.S. Department of Education               West Lake Financial Services
Attn: Bankruptcy Dept                              xxxx0993                                   xxx9490
PO BOX 965060                                      ECMC/Bankruptcy                            ATTN: Bankruptcy
Orlando, FL 32896-5060                             PO Box 16408                               4751 Wilshire Blvd., Ste 100
                                                   Saint Paul, MN 55116                       Los Angeles, CA 90010


Synchrony/Kawasaki                                 United Revenue Corp.
xxxxxxxx0065                                       xxx4218
Attn: Bankruptcy                                   204 Billings Street
PO Box 965060                                      Suite 120
Orlando, FL 32896                                  Arlington, TX 76010


The Rubin Law Firm, PLLC                           United States Trustee
90 Broad Street, 16th Floor                        1100 Commerce Street
New York, NY 10004                                 Rm. 976
                                                   Dallas, Texas 75242-1496



TVT 2.0 LLC                                        USDOE/GLELSI
881 Baxter Dr.                                     xxxxxxxxxxxx8581
Suite 100                                          Attn: Bankruptcy
South Jordan, UT, 84095                            PO Box 7860
                                                   Madison, WI 53707


U.S. Department of Education                       Vadim Serebro, Esq.
xxxx6621                                           55 Broadway
ECMC/Bankruptcy                                    3rd Floor
PO Box 16408                                       New York, New York 10006
Saint Paul, MN 55116
